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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE


 In re:


 Zohar III, Corp., et al.,                      Bankruptcy Case No. 18-10512 (KBO)
                                                Bankruptcy. Adv. No. 19-50390 (KBO)
                               Debtors.




 Patriarch Partners XIV, LLC, et al.,
                               Appellants,
              v.                                       C.A. No. 22-400-TLA
 MBIA Inc., et al.,                                    Bankr. BAP No. 22-29
                               Appellees.



                              RECOMMENDATION

                       At Wilmington this 25th day of April, 2022.

          WHEREAS, pursuant to paragraph 2(a) of the Procedures to Govern Mediation

of Appeals from the United States Bankruptcy Court for this District dated September

11, 2012, the court conducted an initial review, which included information from

counsel,1 to determine the appropriateness of mediation in this matter;

          WHEREAS, as a result of the above screening process, the issues involved in

this case are not amenable to mediation and mediation at this stage would not be a


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         Written information was provided by counsel for the parties which is not made
part of the court record because it relates to mediation.
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productive exercise, a worthwhile use of judicial resources nor warrant the expense of

the process.

       On October 1, 2019, Plaintiff-Appellants, Patriarch Partners, VIII, LLC, Patriarch

Partners XIV, LLC, Patriarch Partners XV, LLC Octaluna, LLC, Octaluna II, LLC,

Octaluna III, LLC and Lynn Tilton (collectively “Patriarch”) filed a complaint, as

amended, (the “Complaint”) initiating a bankruptcy adversary proceeding (“Appellants”).

Patriach sought to equitably subordinate claims held by Defendant-Appellees MBIA,

Inc., MBIA Ins. Corp. (combined “MBIA”), U.S. Bank, N.A., Alvarez & Marsal Zohar

Management (“AMZM”) and Zohar III Controlling Class2 (“Appellees”). The Bankruptcy

Court entered a Memorandum Opinion and Order on Defendants’ Motion to Dismiss the

Complaint of Lynn Tilton and the Patriarch & Octaluna Entities for Equitable

Subordination, and dismissed the Complaint in full without any leave to amend. In

response, on March 29, 2022, Patriarch filed a Notice of Appeal of the Order. See D.I.

1. Thereafter, the Appellants-Patriach filed a designation of record and the statement

of issues on Appeal. See D.I. 5. A review of the issues raised on this Appeal show that

they primarily address procedural matters.

       Prior to their joint letter submission, Patriach and Appellees conferred to discuss

the prospects of mediating this dispute. In light of the issues on appeal, neither side

believes that mediation would be useful in resolving this Appeal, and request that they

be excused from mediation. Based on a review of the issues raised on Appeal, this

judge agrees that mediation would not be useful and would not lead to resolution.


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      AThe Zohar III Controlling Class refers to all Appellees except for MBIA, US
Bank and AMZM.

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       The Parties also propose the following briefing schedule:

Patriarch Opening Brief                          No later that Monday, May 16, 2022
Appellees Answering Brief                        No later that 30 days after Patriarch
                                                   files its Opening Brief
Patriach Reply Brief                             No later that 14 days after Appellees
                                                   file their Answering Brief.


       THEREFORE, IT IS RECOMMENDED that, pursuant to paragraph 2(a)

Procedures to Govern Mediation of Appeals from the United States Bankruptcy Court

for this District and 28 U.S.C. § 636(b), this matter be withdrawn from the mandatory

referral for mediation and proceed through the appellate process of this Court. No

objections to this Recommendation pursuant to 28 U.S.C. § 636(b)(1)(B), F ED. R. CIV.

P. 72(a) and D. DEL. LR 72.1 are anticipated since it is consistent with the Parties’

request.

       Local counsel are obligated to inform out-of-state counsel of this Order.



                                          /s/ Mary Pat Thynge
                                          Chief U.S. Magistrate Judge Mary Pat Thynge




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